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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO.: 1:17-cv-20931-UU

 CARLOS GUARISMA,

                 Plaintiff,
 v.

 HYATT EQUITIES, LLC, a Delaware
 Limited Liability Company,

                 Defendant.
                                                   /

                      STIPULATION OF DISMISSAL WITH PREJUDICE

         As provided for in Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff, Carlos

 Guarisma, and Defendant, Hyatt Equities, LLC, hereby stipulate and agree that this action is

 hereby dismissed with prejudice.

         /s/ Scott D. Owens                        /s/ Dori K. Stibolt
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         Attorneys for Plaintiff                   Attorneys for Defendant
         Carlos Guarisma                           Hyatt Equities, LLC

         Dated: November 10, 2017                  Dated: November 10, 2017



                                                   BY THE COURT:



                                                   URSULA M. UNGARO, U.S.D.J.

                                                   Dated: October     , 2017



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                                CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on November 10, 2017, I electronically filed the foregoing

 document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

 is being served this date via U.S. mail and/or some other authorized manner for those counsel or

 parties below, if any, who are not authorized to receive electronically Notices of Electronic

 Filing.



                                                            By: /s/ Scott D. Owens
                                                                Scott D. Owens, Esq.




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